Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 1 of 12 PageID# 391
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 2 of 12 PageID# 392
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 3 of 12 PageID# 393
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 4 of 12 PageID# 394
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 5 of 12 PageID# 395
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 6 of 12 PageID# 396
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 7 of 12 PageID# 397
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 8 of 12 PageID# 398
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 9 of 12 PageID# 399
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 10 of 12 PageID# 400
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 11 of 12 PageID# 401
Case 1:14-cv-01187-TSE-JFA Document 26 Filed 11/20/14 Page 12 of 12 PageID# 402




                                   CERTIFICATE OF SERVICE

           I hereby certify that on November 20, 2014, I electronically filed the foregoing

 MONTHLY OPERATING REPORT FOR OCTOBER 2014 with the Clerk of Court using

 the CM/ECF system, which will then send a notification of such filing (NEF) to all counsel of

 record.

                                                       /s/ Erika L. Morabito
                                                Erika L. Morabito (VA Bar No. 44369)
                                                Foley & Lardner, LLP
                                                3000 K Street, NW, Suite 600
                                                Washington, DC 20007-5109
                                                Phone: 202-672-5300
                                                Fax: 202-672-5399
                                                Attorney for Receiver Raymond A. Yancey
